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&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;SUMMARY &lt;/div&gt;
&lt;div&gt;October 10, 2024 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;202&lt;span&gt;4COA111&lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;No. 23CA0521, &lt;span&gt;People v. Hernandez-Escajeda&lt;/span&gt; &lt;span&gt;â&lt;/span&gt; Criminal &lt;/div&gt;
&lt;div&gt;Law&lt;span&gt; &lt;span&gt;â&lt;/span&gt;&lt;span&gt; Appeals &lt;span&gt;â&lt;/span&gt; Resentencing on Remand&lt;span&gt; &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;A division of the court of appeals holds that a district &lt;span&gt;&lt;/span&gt;court &lt;/div&gt;
&lt;div&gt;generally has the inherent authority to resentence on a defendantâs &lt;/div&gt;
&lt;div&gt;remaining convictions on remand following the vacat&lt;span&gt;&lt;/span&gt;ur of a &lt;/div&gt;
&lt;div&gt;conviction that resulted in a reduced aggregate sentence.  &lt;span&gt;&lt;/span&gt;The &lt;/div&gt;
&lt;div&gt;division also concludes that a district court has the authorit&lt;span&gt;&lt;/span&gt;y to &lt;/div&gt;
&lt;div&gt;take actions on remand that are not specifically directed by t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;appellate mandate but do not contravene the mandate. &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
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&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;The summaries of the Colorado Court of Appeals published opinions &lt;/div&gt;
&lt;div&gt;constitute no part of the opinion of the division but have been prepared by &lt;/div&gt;
&lt;div&gt;the division for the convenience of the reader.  The summaries may not be &lt;/div&gt;
&lt;div&gt;cited or &lt;span&gt;relied upon as they are not the official language of the division.  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Any discrepancy between the language in the summary and in the opinion &lt;/div&gt;
&lt;div&gt;should be resolved in favor of the language in the opinion. &lt;/div&gt;
&lt;/div&gt;
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&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MM9/LB2/MM9LB2ToR0GdClksMzpXiRZwEfCCRqdZmscuYNxjpBOow%3D?AWSAccessKeyId=ASIA5PHC3MTPQXC3I5S3&amp;amp;Expires=1728702165&amp;amp;Signature=6pRf5SEdVVt9C03V8lnfDq8ySic%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEEIaCXVzLWVhc3QtMSJHMEUCIQDyJ2EeUdzSb%2Br7UhDe5yzXpNfxxvNLs71Ngv%2FIT8QhUwIgFNGeTgA883bJnJ8Qs%2FQdcZEBol7HwIh2lwacBNR2lA0quwUIm%2F%2F%2F%2F%2F%2F%2F%2F%2F%2F%2FARAAGgw5MjYwNDEyMDM5MzUiDMlNTZp9nmtERhI2lCqPBafom%2FXvKfKZHzv3Ix5YoTIuWA7vAtgry0zr6KDad59hZqMz0iI315od33m%2FsrApO7Sn4vHPOBR%2FkkeK%2Fv%2FpvpISzH3S4gQS0xa131rYUz7GHmxTzGoHqXY3XS0ZTi07rf4gWakHKClq51fOaYcKCWW5HXwqmSrUfLA2S5VwU0LhEY%2BA4VbJpDWSMVCO16z4Nl95Odyep9L2KyS%2B7M2Ku5pjdUB8o3VViycb5T5O4qnVo0Qp1gSkSSL5jwuwcYTPoScISPUbXrog9JMPZJBBEJYYJfXXYQCCd1APV9MVBnuEa8my29fl8mgQUDC0dhrVkycv86QhSYTAJbrVJfwKggmoKdpKLTaY1ABPcz%2FJeX5sOwdvP9PXPpUVH0r1YxOhG4jdBXvRr7zudI36sr4y8BCtIvT8H9UNWzNlbFVSlUcMr46LVFv2rBY%2FoyAwLIbLOqjmcD0RWxUbqDCbKVb4QIUZh1lSE7IVfBxYCX4TFej%2FEGBZf61QKASSwYgsIDZR%2BBJoQ1RLkDxj88ygFoMJ8GVzRUOHpPJ8oylkwQq8jeXbkLSNYOQTz06A4fyEDnM%2BzGbMLIuPESg1RGPEHCKtIowgbdNJ02lWl9%2BvOQivP7THxO%2Biq%2FvvAOb%2BbfGGOxMhrDYaQfRo%2BY0a58BL%2BgXxusPIV7leeFJh0%2BWMlip%2Bgv9vtWh22fpSQ3PqtZLUxTUmKvcZ7beb1odJ7PHXlW82d03JdLp93bH9m1kk9dDi8VHvve43sBjMt7g0%2FXrd8wY67ZDCPv0UhBA7y0okQakiG8J0hIzC%2BihZtDliKxwAiMloW632CvefYnqLr1z4l%2FdSA0Ja%2BH4XPy2L0Mjwu8JW8bcAHuAWEJlvQ3z91gNt0zkwiqenuAY6sQHU1aUYFxDOE3k2c7CB%2F0taqRwWD3NQxvi7QKXdPdQi4QFWQU052FACAnmpst%2F9vsrNGYLhwpiKGmcS0p4K4HIOqqrqP%2BAbWTNuZrwn2RVuRNSk5in1yvyj306syJ749UAQYqHwtfOn6hkPSUj74Y%2B4RqML73vgryaVWRZH4RBED3OR6x4L5GPz9MuEVSQGApFRA684J52BpyljTBkoGrrUMbAGXySACX62sANM6shVefY%3D"&gt;&lt;div&gt;
&lt;div&gt;COLORADO COURT OF APPEALS                                                &lt;span&gt;2024COA111&lt;/span&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Court of Appeals No. 23CA0521 &lt;/div&gt;
&lt;div&gt;Jefferson&lt;span&gt; County District Court No. 17CR2800 &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Honorable &lt;span&gt;Russell Klein&lt;/span&gt;, Judge &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;The People of the State of Colorado, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Plaintiff-Appellant, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;v. &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Octavio Hernandez-&lt;span&gt;Escajeda&lt;/span&gt;, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Defendant-Appellee. &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;ORDER REVERSED AND CASE  &lt;/div&gt;
&lt;div&gt;REMANDED WITH DIRECTIONS&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Division III &lt;/div&gt;
&lt;div&gt;Opinion by JUDGE NAVARRO &lt;/div&gt;
&lt;div&gt;Dunn and Gomez, JJ., concur &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Announced October 10, 2024 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Alexis King, District Attorney, &lt;span&gt;Rebecca &lt;/span&gt;A. Adams, Senior Appellate Deputy &lt;/div&gt;
&lt;div&gt;District Attorney, Golden, Colorado, for Plaintiff-Appellant &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Megan A. Ring, Colorado State Public Defender, &lt;span&gt;Kamela Maktabi&lt;/span&gt;, Deputy State &lt;/div&gt;
&lt;div&gt;Public Defender, Denver, Colorado, for Defendant-Appellee &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;/div&gt;
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&lt;/div&gt;
&lt;div id="pf3" data-page-no="3"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;1 &lt;/div&gt;
&lt;div&gt;Â¶ 1&lt;span&gt; &lt;/span&gt;&lt;span&gt;The prosecution appeals &lt;span&gt;the district courtâs&lt;/span&gt; order concluding &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;that &lt;span&gt;it&lt;/span&gt; lacked authority to resentence defendant, Octavio &lt;/div&gt;
&lt;div&gt;Hernandez-Escajeda&lt;span&gt;, &lt;span&gt;because of the remand instructions in &lt;span&gt;People &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;v. Hernandez-Escajeda&lt;span&gt;, (Colo. App. No. 19CA1519, July 7, 2&lt;span&gt;&lt;/span&gt;022) &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(not published pursuant to C.A.R. 35(e)) (&lt;span&gt;Hernandez-Escajeda I&lt;/span&gt;&lt;span&gt;).&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;We disagree with the district court and, in doing so, address a &lt;/div&gt;
&lt;div&gt;district courtâs inherent authority to resentence &lt;span&gt;on remand absent &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;contrary directions from an appellate court.  Therefore, w&lt;span&gt;e &lt;/span&gt;reverse &lt;/div&gt;
&lt;div&gt;the order and remand for further proceedings consistent &lt;span&gt;&lt;/span&gt;with this &lt;/div&gt;
&lt;div&gt;opinion.&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;I.&lt;span&gt; &lt;span&gt;Background &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 2&lt;span&gt; &lt;/span&gt;&lt;span&gt;The prosecution initially charged Hernandez-Escajeda with &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;twenty-four counts &lt;span&gt;â&lt;/span&gt; including burglary, kidnapping, and &lt;/div&gt;
&lt;div&gt;assault &lt;span&gt;â&lt;/span&gt; involving three victims. &lt;span&gt; &lt;/span&gt;The prosecution lat&lt;span&gt;&lt;/span&gt;er added two &lt;/div&gt;
&lt;div&gt;sexual assault charges.&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 3&lt;span&gt; &lt;/span&gt;&lt;span&gt;In exchange for the dismissal of all &lt;span&gt;th&lt;/span&gt;ose counts, Hernandez-&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Escajeda pleaded guilty to added counts of first degree burglary, &lt;/div&gt;
&lt;div&gt;first degree assault, and a crime of violence sentence enhancer that&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;applied to both the burglary and assault counts.&lt;span&gt;  &lt;/span&gt;&lt;span&gt;Hernandez-&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Escajeda affirmed that, among other things, he understood t&lt;span&gt;&lt;/span&gt;hat &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;/div&gt;
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&lt;div&gt;&lt;div&gt;
&lt;div&gt;2 &lt;/div&gt;
&lt;div&gt;(1) the sentencing range for each of the two substantive counts w&lt;span&gt;&lt;/span&gt;as &lt;/div&gt;
&lt;div&gt;ten to thirty-two years in the custody of the Department of &lt;/div&gt;
&lt;div&gt;Corrections (DOC), and (2) those two sentences would run &lt;/div&gt;
&lt;div&gt;consecutively.&lt;span&gt;  &lt;span&gt;Hernandez-Escajeda I&lt;span&gt;, slip op. at Â¶ 2.&lt;span&gt; &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 4&lt;span&gt; &lt;/span&gt;&lt;span&gt;The district court sentenced Hernandez-Escajeda to two &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;consecutive DOC sentences of twenty-two years each, for an &lt;/div&gt;
&lt;div&gt;aggregate sentence of forty-four years.&lt;span&gt; &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 5&lt;span&gt; &lt;/span&gt;&lt;span&gt;Hernandez-Escajeda did not direct&lt;span&gt;ly&lt;/span&gt; appeal the judgment of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;conviction.&lt;span&gt;  &lt;span&gt;Instead, he filed a Crim. P. 35(b) motion for sentenc&lt;span&gt;&lt;/span&gt;e &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;reconsideration, which the court denied, explaining that &lt;/div&gt;
&lt;div&gt;â&lt;span&gt;sentencing decisions are made very carefully after full &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;consideration of all relevant circumstances.  The [c]ourt finds that &lt;/div&gt;
&lt;div&gt;circumstances have not changed sufficiently since the time of &lt;/div&gt;
&lt;div&gt;sentencing until the present date to warrant this [c]ourt to &lt;/div&gt;
&lt;div&gt;reconsider the previously imposed sentence.&lt;span&gt;â&lt;/span&gt;&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 6&lt;span&gt; &lt;/span&gt;&lt;span&gt;Later, Hernandez-Escajeda filed a pro se Crim. P. 35(c) motion &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;for postconviction relief.&lt;span&gt;  &lt;/span&gt;The district court appointed counsel f&lt;span&gt;&lt;/span&gt;or &lt;/div&gt;
&lt;div&gt;him, and postconviction counsel filed two supplemental &lt;/div&gt;
&lt;div&gt;postconviction motions on his behalf.  As relevant here&lt;span&gt;, &lt;/span&gt;&lt;span&gt;Hernandez-&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Escajeda claimed that (1) his convictions and consecutive senten&lt;span&gt;&lt;/span&gt;ces &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;/div&gt;
&lt;div id="pf5" data-page-no="5"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;3 &lt;/div&gt;
&lt;div&gt;for first degree burglary and first degree assault violated his &lt;/div&gt;
&lt;div&gt;constitutional right to be free from double jeopardy, and (2) his &lt;/div&gt;
&lt;div&gt;convictions and sentences on those two counts were illegal because &lt;/div&gt;
&lt;div&gt;they were supported by identical facts.&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 7&lt;span&gt; &lt;/span&gt;&lt;span&gt;The district court summarily denied the postconviction &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;motion. &lt;span&gt; &lt;/span&gt;But on appeal, a division of this court conclud&lt;span&gt;ed&lt;/span&gt; that &lt;/div&gt;
&lt;div&gt;Hernandez-Escajeda&lt;span&gt;âs convictions for first degree burglary and &lt;span&gt;&lt;/span&gt;first &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;degree assault must merge.  &lt;span&gt;Hernandez-Escajeda&lt;/span&gt;, &lt;span&gt;Â¶Â¶&lt;/span&gt; &lt;span&gt;37&lt;/span&gt;-4&lt;span&gt;&lt;/span&gt;1.  &lt;/div&gt;
&lt;div&gt;Consequently, the division affirmed in part, reversed in &lt;span&gt;&lt;/span&gt;part, and &lt;/div&gt;
&lt;div&gt;remanded with directions. &lt;span&gt; &lt;/span&gt;In the portion of the opinion containing &lt;/div&gt;
&lt;div&gt;the remand instructions, &lt;span&gt;the division â&lt;/span&gt;remanded to the district &lt;/div&gt;
&lt;div&gt;court with directions to vacate Hernandez-&lt;span&gt;Escajedaâs conviction fo&lt;span&gt;&lt;/span&gt;r &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;first degree assault and correct the mittimus accordingly.&lt;span&gt;&lt;/span&gt;â&lt;span&gt;  &lt;/span&gt;&lt;span&gt;Id.&lt;/span&gt;&lt;span&gt; at &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ &lt;span&gt;42&lt;/span&gt;. &lt;/div&gt;
&lt;div&gt;Â¶ 8&lt;span&gt; &lt;/span&gt;&lt;span&gt;On remand, the district court set a hearing to consider the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;divisionâs opinion and mandate.  &lt;span&gt;In response (and before that &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;hearing), the prosecution requested resentencing in accordanc&lt;span&gt;&lt;/span&gt;e &lt;/div&gt;
&lt;div&gt;with &lt;span&gt;People v. Johnson&lt;/span&gt;, 2015 CO 70. &lt;span&gt; &lt;/span&gt;Hernandez-Escajeda objected, &lt;/div&gt;
&lt;div&gt;asserting that the court could not resentence him on the remaining &lt;/div&gt;
&lt;div&gt;substantive count (first degree burglary) but could only perform t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf6" data-page-no="6"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;4 &lt;/div&gt;
&lt;div&gt;actions specifically mentioned in the remand language in &lt;/div&gt;
&lt;div&gt;Hernandez-Escajeda I&lt;span&gt;.&lt;/span&gt;&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 9&lt;span&gt; &lt;/span&gt;&lt;span&gt;At &lt;span&gt;a &lt;/span&gt;hearing on the issue&lt;span&gt;, &lt;/span&gt;the district court discussed &lt;span&gt;Johnson&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;but ultimately &lt;span&gt;agreed with the defenseâs position&lt;/span&gt;&lt;span&gt;. &lt;span&gt; &lt;/span&gt;&lt;/span&gt;Specifically, t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;court emphasized that the division in &lt;span&gt;Hernandez-Escajeda&lt;span&gt;&lt;/span&gt; I&lt;span&gt; did not &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;remand for â&lt;span&gt;resentencing&lt;/span&gt;&lt;span&gt;â&lt;/span&gt;&lt;span&gt; but instead remand&lt;span&gt;ed&lt;/span&gt; with directions to &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;vacate the first degree assault conviction and âcorrect&lt;span&gt;&lt;/span&gt; the mittimus &lt;/div&gt;
&lt;div&gt;accordingly&lt;span&gt;.â&lt;/span&gt;&lt;span&gt; &lt;span&gt; &lt;/span&gt;Therefore, the court believed that the &lt;span&gt;only&lt;/span&gt; action it &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;could take on remand was to correct the mittimus by vacating the &lt;/div&gt;
&lt;div&gt;first degree assault conviction.&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 10&lt;span&gt; &lt;/span&gt;&lt;span&gt;The court then issued an amended mittimus merging &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Hernandez-&lt;span&gt;Escajedaâs &lt;span&gt;first degree assault conviction into his first &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;degree burglary conviction&lt;span&gt;. &lt;span&gt; &lt;/span&gt;&lt;/span&gt;So all that remains on the mittimus &lt;span&gt;is&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;the first degree burglary conviction, the crime of violence sentenc&lt;span&gt;&lt;/span&gt;e &lt;/div&gt;
&lt;div&gt;enhancer, and the twenty-two-year DOC sentence on the &lt;span&gt;&lt;/span&gt;first &lt;/div&gt;
&lt;div&gt;degree burglary conviction.&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;II.&lt;span&gt; &lt;span&gt;Analysis &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 11&lt;span&gt; &lt;/span&gt;&lt;span&gt;We&lt;span&gt; have jurisdiction to hear the &lt;span&gt;prosecutionâs&lt;/span&gt; appeal because&lt;span&gt;, &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;as both parties recognize, whether the district court had authority &lt;/div&gt;
&lt;div&gt;to resentence Hernandez-Escajeda on remand from &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf7" data-page-no="7"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;5 &lt;/div&gt;
&lt;div&gt;Hernandez-Escajeda I&lt;span&gt; presents a question of law.  &lt;/span&gt;&lt;span&gt;See&lt;/span&gt;&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â§ &lt;span&gt;16&lt;span&gt;-&lt;span&gt;12&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;-102(1), C.R.S. 2024; &lt;span&gt;People v. Madrid&lt;/span&gt;, 2023 CO 12, Â¶ &lt;span&gt;37.&lt;span&gt;&lt;/span&gt;&lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 12&lt;span&gt; &lt;/span&gt;&lt;span&gt;We review questions of law de novo.&lt;span&gt;  &lt;/span&gt;&lt;span&gt;Madrid&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;Â¶ &lt;span&gt;37.&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;&lt;span&gt;W&lt;/span&gt;&lt;span&gt;e &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;conclude that reversal is warranted.&lt;span&gt;  &lt;/span&gt;In our analysis, we address &lt;/div&gt;
&lt;div&gt;the following issues: (1) whether, as a rule, a district court has the &lt;/div&gt;
&lt;div&gt;inherent authority to resentence a defendant under circumstance&lt;span&gt;&lt;/span&gt;s &lt;/div&gt;
&lt;div&gt;similar to those here&lt;span&gt;; (2) if so, whether the courtâs aut&lt;span&gt;&lt;/span&gt;hority was &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;limited by the fact that the successful appeal in &lt;/div&gt;
&lt;div&gt;Hernandez-Escajeda I&lt;span&gt; occurred in the postconviction context; &lt;span&gt;&lt;/span&gt;and &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(3) the impact of the particular remand instructions in &lt;/div&gt;
&lt;div&gt;Hernandez-Escajeda I&lt;span&gt;.   &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;A.&lt;span&gt; &lt;span&gt;The &lt;span&gt;District Courtâs &lt;/span&gt;Inherent Authority  &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;to&lt;span&gt; Resentence On Remand &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 13&lt;span&gt; &lt;/span&gt;&lt;span&gt;When moving for resentencing, the prosecution relied on the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;supreme court&lt;span&gt;âs&lt;/span&gt; decision in &lt;span&gt;Johnson&lt;/span&gt;, which addressed a district &lt;/div&gt;
&lt;div&gt;courtâs resentencing authority following an appellate remand. &lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;There, a jury found the defendant guilty of sexual assault, first &lt;/div&gt;
&lt;div&gt;degree kidnapping, and possession of a controlled substance. &lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Johnson&lt;span&gt;, Â¶&lt;span&gt; 4.  He was sentenced to concurrent DOC sentences of&lt;/span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;respectively, twenty years to life, twenty years, and six years (for an &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf8" data-page-no="8"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;6 &lt;/div&gt;
&lt;div&gt;aggregate sentence of twenty years to life)&lt;span&gt;.  &lt;/span&gt;&lt;span&gt;Id.&lt;/span&gt;  On direct appeal, a &lt;/div&gt;
&lt;div&gt;division of this court conclud&lt;span&gt;ed&lt;/span&gt; that the district court had erred &lt;span&gt;by&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;rejecting, after first accepting, a plea agreement under which t&lt;span&gt;he&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;defendant had pleaded guilty to &lt;span&gt;only&lt;/span&gt; the possession charge.  &lt;span&gt;I&lt;span&gt;&lt;/span&gt;d.&lt;span&gt; at &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 5.  The division reversed the convictions, vacated the sentence&lt;span&gt;&lt;/span&gt;s, &lt;/div&gt;
&lt;div&gt;and remanded for the district court to reinstate &lt;span&gt;the defendantâs &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;guilty plea to possession of a controlled substance and &lt;span&gt;to&lt;/span&gt; sentence &lt;/div&gt;
&lt;div&gt;him on that conviction.  &lt;span&gt;Id.&lt;/span&gt; at Â¶Â¶ 1, 5. &lt;/div&gt;
&lt;div&gt;Â¶ 14&lt;span&gt; &lt;/span&gt;&lt;span&gt;On remand, the district court imposed a sentence of twelve &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;years for possession of a controlled substance &lt;span&gt;â&lt;/span&gt; doubl&lt;span&gt;e &lt;/span&gt;the original &lt;/div&gt;
&lt;div&gt;sentence on that conviction.  &lt;span&gt;Id.&lt;/span&gt; at Â¶ 6.  The defendant appealed &lt;/div&gt;
&lt;div&gt;again, claiming, among other things, that the increased sentence &lt;/div&gt;
&lt;div&gt;violated his due process rights.  &lt;span&gt;Id.&lt;/span&gt; at Â¶ 7.  Agreeing with him,&lt;span&gt;&lt;/span&gt; a &lt;/div&gt;
&lt;div&gt;division of this court applied a presumption of vindict&lt;span&gt;&lt;/span&gt;iveness to the &lt;/div&gt;
&lt;div&gt;increased sentence and (because no new information justifie&lt;span&gt;&lt;/span&gt;d the &lt;/div&gt;
&lt;div&gt;new sentence) concluded that there was a reasonable likelihood &lt;/div&gt;
&lt;div&gt;that the sentence was the result of actu&lt;span&gt;al&lt;/span&gt; vindictiveness for the &lt;/div&gt;
&lt;div&gt;defendantâs &lt;span&gt;successful first appeal.  &lt;span&gt;Id.&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 15&lt;span&gt; &lt;/span&gt;&lt;span&gt;The supreme court granted review to address the scope of the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;district courtâs resentencing authority under these circumstan&lt;span&gt;&lt;/span&gt;ces&lt;span&gt; &lt;/span&gt;&lt;span&gt;â&lt;/span&gt;&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf9" data-page-no="9"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;7 &lt;/div&gt;
&lt;div&gt;that is, to consider &lt;span&gt;â&lt;/span&gt;whether the [district] court violated [the &lt;/div&gt;
&lt;div&gt;defendantâs]&lt;span&gt; statutory and constitutional rights by increasing his &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;sentence on the remaining conviction on remand following &lt;span&gt;&lt;/span&gt;his &lt;/div&gt;
&lt;div&gt;successful appeal on his other convictions.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;&lt;span&gt;Id.&lt;/span&gt; at Â¶ 1.&lt;span&gt;  &lt;/span&gt;The &lt;/div&gt;
&lt;div&gt;supreme court pointed out &lt;span&gt;that, â[a]s a&lt;/span&gt; general matter, [district] &lt;/div&gt;
&lt;div&gt;court judges possess significant discretion in determinin&lt;span&gt;&lt;/span&gt;g an &lt;/div&gt;
&lt;div&gt;appropriate sentence&lt;span&gt;,â including â&lt;/span&gt;during a resentencing on &lt;/div&gt;
&lt;div&gt;remand.&lt;span&gt;â  &lt;span&gt;Id.&lt;/span&gt;&lt;span&gt; at Â¶ &lt;span&gt;21.&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;Therefore, to protect a district court&lt;/span&gt;&lt;span&gt;âs&lt;/span&gt;&lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;discretion during a resentencing on remand, &lt;span&gt;â&lt;/span&gt;the presumption of&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;vindictiveness is a narrow one.&lt;span&gt;â  &lt;span&gt;Id.&lt;/span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 16&lt;span&gt; &lt;/span&gt;&lt;span&gt;The supreme court &lt;span&gt;adopted the âaggregate approach&lt;/span&gt;&lt;span&gt;,&lt;span&gt;â&lt;/span&gt;&lt;/span&gt; under &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;which the presumpti&lt;span&gt;on&lt;/span&gt; of vindictiveness applies &lt;span&gt;â&lt;/span&gt;where changes &lt;span&gt;&lt;/span&gt;to &lt;/div&gt;
&lt;div&gt;the defendantâs sentence on remand&lt;span&gt; cause the &lt;span&gt;aggregat&lt;span&gt;&lt;/span&gt;e&lt;span&gt; total &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;sentence to increase as compared to the original &lt;span&gt;aggregate&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;sentence.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;&lt;span&gt;Id.&lt;/span&gt;&lt;span&gt; at Â¶ &lt;span&gt;25&lt;/span&gt; (emphasis added)&lt;span&gt;. &lt;/span&gt; &lt;span&gt;See generally id.&lt;/span&gt; at Â¶Â¶ &lt;span&gt;24&lt;/span&gt;-&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;37.&lt;span&gt;  &lt;span&gt;In approving that approach, the supreme court relied in part on&lt;span&gt;&lt;/span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;People v. Woellhaf&lt;span&gt;, &lt;span&gt;199 P.3d 27 (Colo. App. 2007)&lt;/span&gt;, &lt;span&gt;a case where the &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;supreme court had &lt;span&gt;concluded that some of the defendantâs &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;convictions must merge and remanded for resentencing, aft&lt;span&gt;&lt;/span&gt;er which &lt;/div&gt;
&lt;div&gt;the defendant argued in a second appeal that the new sentence &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfa" data-page-no="a"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;8 &lt;/div&gt;
&lt;div&gt;violated his due process rights.  &lt;span&gt;See Johnson&lt;/span&gt;&lt;span&gt;, Â¶&lt;/span&gt;Â¶ &lt;span&gt;27&lt;/span&gt;&lt;span&gt;-&lt;span&gt;28&lt;/span&gt;&lt;/span&gt;&lt;span&gt;.  A&lt;/span&gt; division &lt;/div&gt;
&lt;div&gt;of this court held that the presumption of vindictiveness di&lt;span&gt;&lt;/span&gt;d not &lt;/div&gt;
&lt;div&gt;apply to the new sentence because the aggregate period of &lt;/div&gt;
&lt;div&gt;incarceration did not increase from the original sentence to the &lt;span&gt;&lt;/span&gt;new &lt;/div&gt;
&lt;div&gt;sentence on remand.&lt;span&gt;  &lt;/span&gt;&lt;span&gt;See Woellhaf&lt;/span&gt;, 199 P.3d at 31-32.&lt;span&gt;  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 17&lt;span&gt; &lt;/span&gt;&lt;span&gt;The supreme court also discussed with approval an opinion &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;from the Fifth Circuit Court of Appeals, in which that court said, &lt;/div&gt;
&lt;div&gt;â&lt;span&gt;the aggregate approach best reflects the realities faced by distri&lt;span&gt;&lt;/span&gt;ct &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;court judges who sentence a defendant on related counts &lt;span&gt;&lt;/span&gt;of an &lt;/div&gt;
&lt;div&gt;indictment&lt;span&gt;. &lt;span&gt; Sentencing is a fact-sensitive exercise that requires &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;district [court] judges to consider a wide array of factors when &lt;/div&gt;
&lt;div&gt;putting together a âsentencing package&lt;span&gt;.â&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;&lt;/span&gt;&lt;span&gt;Johnson&lt;/span&gt;&lt;span&gt;, Â¶ &lt;span&gt;28&lt;/span&gt; (quoting &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;United States v. Campbell&lt;span&gt;, 106 F.3d 64, 68 (5th Cir. 1997&lt;span&gt;))&lt;/span&gt;. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 18&lt;span&gt; &lt;/span&gt;&lt;span&gt;The supreme court explained that the presumption of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;vindictiveness did not apply in &lt;span&gt;Johnson&lt;/span&gt; &lt;span&gt;because the defendant&lt;span&gt;&lt;/span&gt;âs &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;aggregate sentence after resentencing did not exceed his original &lt;/div&gt;
&lt;div&gt;aggregate sentence.  &lt;span&gt;I&lt;span&gt;d.&lt;/span&gt;&lt;/span&gt; at Â¶ 39.  The court then concluded that &lt;span&gt;&lt;/span&gt;the &lt;/div&gt;
&lt;div&gt;defendant failed to prove that the district court acted out of actual &lt;/div&gt;
&lt;div&gt;vindictiveness.  &lt;span&gt;I&lt;span&gt;d.&lt;/span&gt;&lt;/span&gt; at Â¶Â¶ &lt;span&gt;42&lt;/span&gt;&lt;span&gt;-&lt;span&gt;43.&lt;/span&gt;&lt;/span&gt;&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfb" data-page-no="b"&gt;
&lt;div&gt;
&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MMX/n%2Be/MMXn%2BekQ817y/lXyeovZwcgeMWibwHo7dUSO3Lu0a7r74%3D?AWSAccessKeyId=ASIA5PHC3MTPQXC3I5S3&amp;amp;Expires=1728702165&amp;amp;Signature=y77E3uiot8pBzQSKojOayHYXL%2BQ%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEEIaCXVzLWVhc3QtMSJHMEUCIQDyJ2EeUdzSb%2Br7UhDe5yzXpNfxxvNLs71Ngv%2FIT8QhUwIgFNGeTgA883bJnJ8Qs%2FQdcZEBol7HwIh2lwacBNR2lA0quwUIm%2F%2F%2F%2F%2F%2F%2F%2F%2F%2F%2FARAAGgw5MjYwNDEyMDM5MzUiDMlNTZp9nmtERhI2lCqPBafom%2FXvKfKZHzv3Ix5YoTIuWA7vAtgry0zr6KDad59hZqMz0iI315od33m%2FsrApO7Sn4vHPOBR%2FkkeK%2Fv%2FpvpISzH3S4gQS0xa131rYUz7GHmxTzGoHqXY3XS0ZTi07rf4gWakHKClq51fOaYcKCWW5HXwqmSrUfLA2S5VwU0LhEY%2BA4VbJpDWSMVCO16z4Nl95Odyep9L2KyS%2B7M2Ku5pjdUB8o3VViycb5T5O4qnVo0Qp1gSkSSL5jwuwcYTPoScISPUbXrog9JMPZJBBEJYYJfXXYQCCd1APV9MVBnuEa8my29fl8mgQUDC0dhrVkycv86QhSYTAJbrVJfwKggmoKdpKLTaY1ABPcz%2FJeX5sOwdvP9PXPpUVH0r1YxOhG4jdBXvRr7zudI36sr4y8BCtIvT8H9UNWzNlbFVSlUcMr46LVFv2rBY%2FoyAwLIbLOqjmcD0RWxUbqDCbKVb4QIUZh1lSE7IVfBxYCX4TFej%2FEGBZf61QKASSwYgsIDZR%2BBJoQ1RLkDxj88ygFoMJ8GVzRUOHpPJ8oylkwQq8jeXbkLSNYOQTz06A4fyEDnM%2BzGbMLIuPESg1RGPEHCKtIowgbdNJ02lWl9%2BvOQivP7THxO%2Biq%2FvvAOb%2BbfGGOxMhrDYaQfRo%2BY0a58BL%2BgXxusPIV7leeFJh0%2BWMlip%2Bgv9vtWh22fpSQ3PqtZLUxTUmKvcZ7beb1odJ7PHXlW82d03JdLp93bH9m1kk9dDi8VHvve43sBjMt7g0%2FXrd8wY67ZDCPv0UhBA7y0okQakiG8J0hIzC%2BihZtDliKxwAiMloW632CvefYnqLr1z4l%2FdSA0Ja%2BH4XPy2L0Mjwu8JW8bcAHuAWEJlvQ3z91gNt0zkwiqenuAY6sQHU1aUYFxDOE3k2c7CB%2F0taqRwWD3NQxvi7QKXdPdQi4QFWQU052FACAnmpst%2F9vsrNGYLhwpiKGmcS0p4K4HIOqqrqP%2BAbWTNuZrwn2RVuRNSk5in1yvyj306syJ749UAQYqHwtfOn6hkPSUj74Y%2B4RqML73vgryaVWRZH4RBED3OR6x4L5GPz9MuEVSQGApFRA684J52BpyljTBkoGrrUMbAGXySACX62sANM6shVefY%3D"&gt;&lt;div&gt;
&lt;div&gt;9 &lt;/div&gt;
&lt;div&gt;Â¶ 19&lt;span&gt; &lt;/span&gt;&lt;span&gt;Although the supreme court ultimately resolved a due pr&lt;span&gt;&lt;/span&gt;ocess &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;claim alleging vindictive resentencing, we conclude that it&lt;span&gt;&lt;/span&gt;s &lt;/div&gt;
&lt;div&gt;reasoning recognizes that, &lt;span&gt;following a defendantâs â&lt;/span&gt;successful &lt;/div&gt;
&lt;div&gt;appeal on his other convictions,&lt;span&gt;â&lt;/span&gt; a district court has the inh&lt;span&gt;&lt;/span&gt;erent &lt;/div&gt;
&lt;div&gt;authority to resentence the defendant on convictions that remain &lt;span&gt;on&lt;span&gt;&lt;/span&gt;&lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;remand&lt;span&gt;, at least where the defendantâs initial appeal results in &lt;span&gt;&lt;/span&gt;a &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;reduced aggregate sentence.&lt;span&gt;  &lt;/span&gt;&lt;span&gt;I&lt;span&gt;d.&lt;/span&gt;&lt;/span&gt; at Â¶Â¶ 1, 37.&lt;span&gt;  &lt;/span&gt;True, the remand &lt;/div&gt;
&lt;div&gt;instructions at issue in &lt;span&gt;Johnson&lt;/span&gt; had directed the district court to &lt;/div&gt;
&lt;div&gt;resentence, but &lt;span&gt;we see nothing in the supreme courtâs analysis t&lt;span&gt;&lt;/span&gt;hat &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;makes this fact essential to a district courtâs resentencing &lt;/div&gt;
&lt;div&gt;authority.&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;1&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;  &lt;span&gt;(We say more on this point below in Part II.B&lt;/span&gt;.)  &lt;/div&gt;
&lt;div&gt;Consistent with our view, a division of this court has cited &lt;span&gt;Johnson&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;for the proposition that, &lt;span&gt;â[i]n multicount cases, judges typically &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;craft sentences on the various counts as part of an overall &lt;/div&gt;
&lt;div&gt;sentencing scheme, but when a count is vacated and that&lt;span&gt;&lt;/span&gt; scheme &lt;/div&gt;
&lt;div&gt;unravels, they should have the discretion to reevaluate t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;1&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; We note that resentencing was necessary in &lt;span&gt;People v. Johnson&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;2015 CO 70, because the first division of this court had revers&lt;span&gt;&lt;/span&gt;ed &lt;/div&gt;
&lt;div&gt;and vacated the entire judgment arising from the jury verdicts, &lt;/div&gt;
&lt;div&gt;including all the sentences.  For this reason, we presume, t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;division explicitly addressed resentencing.  &lt;/div&gt;
&lt;/div&gt;
&lt;a href="#pfb" data-dest-detail='[11,"XYZ",69,154,null]'&gt;&lt;div style="border-style:none;position:absolute;left:175.707222px;bottom:457.993889px;width:10.080000px;height:32.870000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;
&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfc" data-page-no="c"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;10 &lt;/div&gt;
&lt;div&gt;underlying facts and sentences on the remaining counts.â  &lt;span&gt;Peop&lt;span&gt;&lt;/span&gt;le v. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Johnson&lt;span&gt;, 2016 COA 15, Â¶ 25 (involving a different defendant with &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the surname Johnson). &lt;/div&gt;
&lt;div&gt;Â¶ 20&lt;span&gt; &lt;/span&gt;&lt;span&gt;We are not persuaded otherwise by Hernandez-Escajeda&lt;span&gt;âs &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;suggestion that, absent a successful postconviction proceeding&lt;span&gt;&lt;/span&gt;, &lt;span&gt;a &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;district courtâs resentencing authority &lt;span&gt;is&lt;/span&gt;&lt;span&gt; necessarily extinguished &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;after a conviction and sentence have become final.  He says his &lt;/div&gt;
&lt;div&gt;sentence for first degree burglary is ânot subject to re&lt;span&gt;&lt;/span&gt;sentencing on &lt;/div&gt;
&lt;div&gt;remandâ because it is&lt;span&gt; final and valid, and &lt;span&gt;he&lt;/span&gt; cites &lt;span&gt;People v. Heredia&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;for the proposition that &lt;span&gt;â&lt;/span&gt;a [district] court loses jurisdiction upon &lt;/div&gt;
&lt;div&gt;imposition of a valid sentence except under circumstances s&lt;span&gt;&lt;/span&gt;pecified &lt;/div&gt;
&lt;div&gt;in Crim. P. 35&lt;span&gt;.â&lt;/span&gt;  122 P.3d 1041, 1043 (Colo. App. 2005) (alteration &lt;/div&gt;
&lt;div&gt;omitted) (quoting &lt;span&gt;People v. Mortensen&lt;/span&gt;, 856 P.2d 45, 47 (Colo. &lt;span&gt;&lt;/span&gt;App. &lt;/div&gt;
&lt;div&gt;1993)).  This proposition is consistent with the general rule that&lt;span&gt;&lt;/span&gt; a &lt;/div&gt;
&lt;div&gt;judgment of conviction and sentence becomes final (1) if a &lt;/div&gt;
&lt;div&gt;defendant does not pursue a direct appeal or (2) on the conclusi&lt;span&gt;&lt;/span&gt;on &lt;/div&gt;
&lt;div&gt;of a direct appeal affirming the judgment.  &lt;span&gt;See Hunsaker v. People&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;2021 CO 83, Â¶Â¶ 28, &lt;span&gt;36&lt;/span&gt;. &lt;/div&gt;
&lt;div&gt;Â¶ 21&lt;span&gt; &lt;/span&gt;&lt;span&gt;As &lt;span&gt;Heredia&lt;/span&gt; recognizes, however, a Rule 35 motion may disturb &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the finality of a judgment, and &lt;span&gt;it&lt;/span&gt; did so here.  When the division in &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfd" data-page-no="d"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;11 &lt;/div&gt;
&lt;div&gt;Hernandez-Escajeda I&lt;span&gt; vacated one of Hernandez-&lt;span&gt;Escajedaâs &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;convictions and remanded for correction of the mittimus, the &lt;/div&gt;
&lt;div&gt;mittimus reflecting the original judgment of conviction could no &lt;/div&gt;
&lt;div&gt;longer stand.&lt;span&gt;  &lt;/span&gt;&lt;span&gt;See Woellhaf&lt;/span&gt;, 199 P.3d &lt;span&gt;at&lt;/span&gt; &lt;span&gt;31&lt;/span&gt; &lt;span&gt;(â&lt;/span&gt;Where, as here, a &lt;/div&gt;
&lt;div&gt;defendant challenges his or her judgment of conviction and enti&lt;span&gt;&lt;/span&gt;re &lt;/div&gt;
&lt;div&gt;sentencing plan, the defendant loses any expectation of f&lt;span&gt;&lt;/span&gt;inality of &lt;/div&gt;
&lt;div&gt;his or her sentences.&lt;span&gt;â).&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;As part of the remand proceedings, the &lt;/div&gt;
&lt;div&gt;prosecution requested resentencing on the remaining substantive &lt;/div&gt;
&lt;div&gt;conviction, and the district court addressed this request &lt;span&gt;&lt;/span&gt;before &lt;/div&gt;
&lt;div&gt;amending the mittimus.&lt;span&gt;  &lt;/span&gt;&lt;span&gt;In other words, the prosecutionâs request &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;was part and parcel of the postconviction proceedings, the related &lt;/div&gt;
&lt;div&gt;appeal, and the remand.&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 22&lt;span&gt; &lt;/span&gt;&lt;span&gt;Our conclusion is supported by federal case law in&lt;span&gt;&lt;/span&gt;dicating &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;that, in the context of a successful postconviction motion to vacate &lt;/div&gt;
&lt;div&gt;a conviction, a district court retains the discretion to resent&lt;span&gt;&lt;/span&gt;ence the &lt;/div&gt;
&lt;div&gt;defendant on any remaining convictions.  &lt;span&gt;See United Stat&lt;span&gt;&lt;/span&gt;es v. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Mixon&lt;span&gt;, 115 F.3d 900, 901-03 (11th Cir. 1997)&lt;span&gt;; &lt;/span&gt;&lt;span&gt;United Stat&lt;span&gt;&lt;/span&gt;es v. &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Harrison&lt;span&gt;, 113 F.3d 135, 137 (8th Cir. 1997); &lt;span&gt;United Stat&lt;span&gt;&lt;/span&gt;es v. Davis&lt;span&gt;, &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;112 F.3d 118, 123 (3d Cir. 1997)&lt;span&gt;; &lt;/span&gt;&lt;span&gt;United States v. Hillary&lt;/span&gt;, 106 F.3d &lt;/div&gt;
&lt;div&gt;1170, 1171-73 (4th Cir. 1997). &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfe" data-page-no="e"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;12 &lt;/div&gt;
&lt;div&gt;B.&lt;span&gt; &lt;span&gt;The Remand Instructions in &lt;span&gt;Hernandez-Escajeda I&lt;/span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 23&lt;span&gt; &lt;/span&gt;&lt;span&gt;Having concluded that a district court generally &lt;span&gt;ha&lt;/span&gt;s inherent &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;authority to resentence on remaining convictions after an appellate &lt;/div&gt;
&lt;div&gt;mandate vacat&lt;span&gt;es&lt;/span&gt; a conviction, we now address whether, in t&lt;span&gt;&lt;/span&gt;his &lt;/div&gt;
&lt;div&gt;case, the district court&lt;span&gt;âs&lt;/span&gt; authority on remand was limited &lt;span&gt;solely&lt;/span&gt; to &lt;/div&gt;
&lt;div&gt;taking the actions specifically directed by the &lt;span&gt;Hernandez-Escajeda&lt;span&gt;&lt;/span&gt; I&lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;division &lt;span&gt;â&lt;/span&gt; namely, correcting the mittimus by vacating the &lt;span&gt;&lt;/span&gt;first &lt;/div&gt;
&lt;div&gt;degree assault conviction.  We conclude that it was not&lt;span&gt;.  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 24&lt;span&gt; &lt;span&gt;The divisionâs direction in &lt;span&gt;Hernandez-Escajeda I&lt;span&gt; to perform a &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;particular action did not amount to a prohibition &lt;span&gt;on&lt;/span&gt; any&lt;span&gt;&lt;/span&gt; other &lt;/div&gt;
&lt;div&gt;action that the district court had the authority to perform on &lt;/div&gt;
&lt;div&gt;remand, provided that such other action did not conf&lt;span&gt;&lt;/span&gt;lict with the &lt;/div&gt;
&lt;div&gt;remand instructions.&lt;span&gt;  &lt;/span&gt;&lt;span&gt;See Oster v. Baack&lt;/span&gt;, 2015 COA 39, Â¶ 15 &lt;/div&gt;
&lt;div&gt;(âAlthough a district court must follow the appellate court man&lt;span&gt;&lt;/span&gt;date &lt;/div&gt;
&lt;div&gt;in subsequent proceedings on remand, it may entertain additi&lt;span&gt;&lt;/span&gt;onal &lt;/div&gt;
&lt;div&gt;motions that do not, expressly or by necessary implication, &lt;/div&gt;
&lt;div&gt;contravene the mandate.&lt;span&gt;â&lt;/span&gt;) (citation omitted).&lt;span&gt;  &lt;/span&gt;That the division in &lt;/div&gt;
&lt;div&gt;Hernandez-Escajeda I&lt;span&gt; did not express&lt;span&gt;ly&lt;/span&gt; direct the district co&lt;span&gt;urt&lt;/span&gt; to &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;resentence Hernandez-Escajeda&lt;span&gt; &lt;/span&gt;on the remaining substantive &lt;span&gt;co&lt;/span&gt;unt &lt;/div&gt;
&lt;div&gt;did not limit the court&lt;span&gt;âs&lt;/span&gt; authority to do so.&lt;span&gt;  &lt;/span&gt;Based on the reasoning &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pff" data-page-no="f"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;13 &lt;/div&gt;
&lt;div&gt;in&lt;span&gt; &lt;span&gt;Johnson&lt;/span&gt;, 2015 CO 70, we conclude that the district court had &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;that inherent authority.&lt;span&gt;  &lt;/span&gt;Moreover, federal cases support our &lt;/div&gt;
&lt;div&gt;conclusion.  &lt;span&gt;See United States v. Hicks&lt;/span&gt;, 146 F.3d 1198, 1202 (&lt;span&gt;&lt;/span&gt;10th &lt;/div&gt;
&lt;div&gt;Cir. 1998) (â[A]fter we vacate a count of conviction t&lt;span&gt;&lt;/span&gt;hat is part of a &lt;/div&gt;
&lt;div&gt;multi-&lt;span&gt;count indictment, a district court âpossesses the inh&lt;span&gt;&lt;/span&gt;erent &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;discretionary powerâ to resentence a defendant on the rem&lt;span&gt;&lt;/span&gt;aining &lt;/div&gt;
&lt;div&gt;counts &lt;span&gt;de novo&lt;/span&gt; unless we impose specific limits on the court&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;authority to resentence&lt;span&gt;.â&lt;/span&gt;) (citation omitted)&lt;span&gt;; &lt;/span&gt;&lt;span&gt;United States v. Shue&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;825 F.2d 1111, 1114 (7th Cir. 1987) (â[D]espite&lt;span&gt; &lt;/span&gt;the previous panelâs &lt;/div&gt;
&lt;div&gt;failure to vacate explicitly the sentencing package and reman&lt;span&gt;&lt;/span&gt;d for &lt;/div&gt;
&lt;div&gt;resentencing, we hold that the district court had the autho&lt;span&gt;&lt;/span&gt;rity to &lt;/div&gt;
&lt;div&gt;reevaluate the sentencing package in light of the changed &lt;/div&gt;
&lt;div&gt;circumstances and resentence the defendant . . . &lt;span&gt;.â).&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 25&lt;span&gt; &lt;/span&gt;&lt;span&gt;In arguing to the contrary, Hernandez-Escajeda relies on other &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;cases&lt;span&gt;, &lt;span&gt;like &lt;span&gt;Hernandez-Escajeda I&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;in which Colorado appellate &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;courts (1) concluded that merger was required on certain &lt;/div&gt;
&lt;div&gt;convictions and (2) remanded for correction of the mit&lt;span&gt;&lt;/span&gt;timus without &lt;/div&gt;
&lt;div&gt;mentioning the possibility of resentencing.  For two reasons, &lt;span&gt;&lt;/span&gt;we &lt;/div&gt;
&lt;div&gt;think his reliance on those cases is misplaced.   &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf10" data-page-no="10"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;14 &lt;/div&gt;
&lt;div&gt;Â¶ 26&lt;span&gt; &lt;/span&gt;&lt;span&gt;First, the question whether resentencing on the remaining &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;convictions could occur on remand was neither asked nor answe&lt;span&gt;&lt;/span&gt;red &lt;/div&gt;
&lt;div&gt;in those cases.  Hence, those cases do not inform our resolution &lt;span&gt;&lt;/span&gt;of &lt;/div&gt;
&lt;div&gt;the issue here. &lt;/div&gt;
&lt;div&gt;Â¶ 27&lt;span&gt; &lt;/span&gt;&lt;span&gt;Second, in those cases, the merger did not affect the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;defendantâs &lt;span&gt;total aggregate sentence&lt;span&gt;. &lt;span&gt; &lt;/span&gt;&lt;/span&gt;See, e.g.&lt;span&gt;, &lt;/span&gt;Whiteaker v. Peo&lt;span&gt;&lt;/span&gt;ple&lt;span&gt;, &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;2024 CO 25, Â¶Â¶ &lt;span&gt;4,&lt;/span&gt; &lt;span&gt;30&lt;/span&gt; (reversing and remanding for the &lt;span&gt;&lt;/span&gt;district &lt;/div&gt;
&lt;div&gt;court to amend the mittimus to reflect the merger of&lt;span&gt;&lt;/span&gt; two &lt;/div&gt;
&lt;div&gt;convictions, without mentioning resentencing, where the three-year &lt;/div&gt;
&lt;div&gt;probationary sentences on each count were imposed &lt;span&gt;concurrent&lt;span&gt;&lt;/span&gt;ly&lt;span&gt;); &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Friend v. People&lt;span&gt;, 2018 CO 90, Â¶Â¶ 7-8, &lt;span&gt;49&lt;/span&gt; (reversing and remanding &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;for the district court to amend the mittimus to reflect&lt;span&gt;&lt;/span&gt; the merger of &lt;/div&gt;
&lt;div&gt;convictions, without mentioning resentencing, where the merger did &lt;/div&gt;
&lt;div&gt;not affect the &lt;span&gt;defendantâs operative sentence of life in prison &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;without the possibility of parole). &lt;/div&gt;
&lt;div&gt;Â¶ 28&lt;span&gt; &lt;/span&gt;&lt;span&gt;In this case, however, the district court imposed two &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;consecutive&lt;span&gt; &lt;span&gt;DOC &lt;/span&gt;sentences of twenty-two years each, resulting &lt;span&gt;&lt;/span&gt;in &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;an aggregate sentence of forty-four years.  The result in &lt;/div&gt;
&lt;div&gt;Hernandez-Escajeda I&lt;span&gt; affected Hernandez-Escajeda&lt;span&gt;âs aggregate &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;sentence because he now has only one conviction with a &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf11" data-page-no="11"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;15 &lt;/div&gt;
&lt;div&gt;twenty-two-year sentence.  We conclude that the district court has &lt;/div&gt;
&lt;div&gt;the discretion to resentence Hernandez-Escajeda on the remaining &lt;/div&gt;
&lt;div&gt;conviction if it deems resentencing appropriate. &lt;/div&gt;
&lt;div&gt;Â¶ 29&lt;span&gt; &lt;/span&gt;&lt;span&gt;On the last point, we disagree with the prosecution that the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;district court on remand i&lt;span&gt;s &lt;/span&gt;&lt;span&gt;required&lt;/span&gt; to resentence &lt;/div&gt;
&lt;div&gt;Hernandez-Escajeda.&lt;span&gt;  &lt;span&gt;The prosecution relies &lt;span&gt;on&lt;/span&gt; &lt;span&gt;People v. La&lt;span&gt;&lt;/span&gt;callo&lt;span&gt;, &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;2014 COA 78, &lt;span&gt;overruled on other grounds by McCoy v. People&lt;/span&gt;, 2&lt;span&gt;&lt;/span&gt;019 &lt;/div&gt;
&lt;div&gt;CO 44, but there, the division vacated &lt;span&gt;the defendantâs âentire &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;sentenceâ on numerous counts and remanded for resentencing. &lt;span&gt;&lt;/span&gt; &lt;span&gt;Id.&lt;/span&gt;&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;at Â¶Â¶ &lt;span&gt;39&lt;/span&gt;-43.  &lt;span&gt;So the defendantâs convictions remained&lt;/span&gt;, but &lt;/div&gt;
&lt;div&gt;resentencing was required on those convictions.  Here&lt;span&gt;, i&lt;/span&gt;n contrast, &lt;/div&gt;
&lt;div&gt;the division i&lt;span&gt;n &lt;/span&gt;&lt;span&gt;Hernandez-Escajeda I&lt;/span&gt; vacated only one of &lt;/div&gt;
&lt;div&gt;Hernandez-Escajeda&lt;span&gt;âs &lt;span&gt;convictions and sentences&lt;span&gt;.  &lt;/span&gt;On his &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;conviction for first degree burglary, he still has &lt;span&gt;a &lt;/span&gt;legal sentence.  So &lt;/div&gt;
&lt;div&gt;resentencing on that count is not required.  Instead, the district &lt;/div&gt;
&lt;div&gt;court &lt;span&gt;ha&lt;/span&gt;s the discretion to decide whether to resentence &lt;/div&gt;
&lt;div&gt;Hernandez-Escajeda on that count.  &lt;/div&gt;
&lt;div&gt;Â¶ 30&lt;span&gt; &lt;/span&gt;&lt;span&gt;The prosecution also cites language from &lt;span&gt;Johnson&lt;/span&gt; that, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;according to the prosecution, holds that a district court is requi&lt;span&gt;&lt;/span&gt;red &lt;/div&gt;
&lt;div&gt;to reassess the sentence and exercise its sentencing discretion &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf12" data-page-no="12"&gt;
&lt;div&gt;
&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MM9/Zgu/MM9ZguMTW/pwsU7Hj38Z0aT83wGmUtrM/47S7PRRijEBs%3D?AWSAccessKeyId=ASIA5PHC3MTPQXC3I5S3&amp;amp;Expires=1728702165&amp;amp;Signature=G5yq8RyfI9ypgHYb7jI6vSS7AUc%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEEIaCXVzLWVhc3QtMSJHMEUCIQDyJ2EeUdzSb%2Br7UhDe5yzXpNfxxvNLs71Ngv%2FIT8QhUwIgFNGeTgA883bJnJ8Qs%2FQdcZEBol7HwIh2lwacBNR2lA0quwUIm%2F%2F%2F%2F%2F%2F%2F%2F%2F%2F%2FARAAGgw5MjYwNDEyMDM5MzUiDMlNTZp9nmtERhI2lCqPBafom%2FXvKfKZHzv3Ix5YoTIuWA7vAtgry0zr6KDad59hZqMz0iI315od33m%2FsrApO7Sn4vHPOBR%2FkkeK%2Fv%2FpvpISzH3S4gQS0xa131rYUz7GHmxTzGoHqXY3XS0ZTi07rf4gWakHKClq51fOaYcKCWW5HXwqmSrUfLA2S5VwU0LhEY%2BA4VbJpDWSMVCO16z4Nl95Odyep9L2KyS%2B7M2Ku5pjdUB8o3VViycb5T5O4qnVo0Qp1gSkSSL5jwuwcYTPoScISPUbXrog9JMPZJBBEJYYJfXXYQCCd1APV9MVBnuEa8my29fl8mgQUDC0dhrVkycv86QhSYTAJbrVJfwKggmoKdpKLTaY1ABPcz%2FJeX5sOwdvP9PXPpUVH0r1YxOhG4jdBXvRr7zudI36sr4y8BCtIvT8H9UNWzNlbFVSlUcMr46LVFv2rBY%2FoyAwLIbLOqjmcD0RWxUbqDCbKVb4QIUZh1lSE7IVfBxYCX4TFej%2FEGBZf61QKASSwYgsIDZR%2BBJoQ1RLkDxj88ygFoMJ8GVzRUOHpPJ8oylkwQq8jeXbkLSNYOQTz06A4fyEDnM%2BzGbMLIuPESg1RGPEHCKtIowgbdNJ02lWl9%2BvOQivP7THxO%2Biq%2FvvAOb%2BbfGGOxMhrDYaQfRo%2BY0a58BL%2BgXxusPIV7leeFJh0%2BWMlip%2Bgv9vtWh22fpSQ3PqtZLUxTUmKvcZ7beb1odJ7PHXlW82d03JdLp93bH9m1kk9dDi8VHvve43sBjMt7g0%2FXrd8wY67ZDCPv0UhBA7y0okQakiG8J0hIzC%2BihZtDliKxwAiMloW632CvefYnqLr1z4l%2FdSA0Ja%2BH4XPy2L0Mjwu8JW8bcAHuAWEJlvQ3z91gNt0zkwiqenuAY6sQHU1aUYFxDOE3k2c7CB%2F0taqRwWD3NQxvi7QKXdPdQi4QFWQU052FACAnmpst%2F9vsrNGYLhwpiKGmcS0p4K4HIOqqrqP%2BAbWTNuZrwn2RVuRNSk5in1yvyj306syJ749UAQYqHwtfOn6hkPSUj74Y%2B4RqML73vgryaVWRZH4RBED3OR6x4L5GPz9MuEVSQGApFRA684J52BpyljTBkoGrrUMbAGXySACX62sANM6shVefY%3D"&gt;&lt;div&gt;
&lt;div&gt;16 &lt;/div&gt;
&lt;div&gt;following a reversal of one of multiple convictions.  &lt;span&gt;See Johnson&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;20&lt;span&gt;15 CO 70, Â¶ &lt;/span&gt;42&lt;span&gt; (recognizing that the reversal of some con&lt;span&gt;&lt;/span&gt;victions &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;â&lt;span&gt;caused th[e] sentencing scheme to unravel, thus requiring the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;[district] &lt;span&gt;court to reassess Johnsonâs sentence and exercise it&lt;span&gt;&lt;/span&gt;s &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;sentencing discretion under new and different circumstances&lt;span&gt;â)&lt;/span&gt;.  In &lt;/div&gt;
&lt;div&gt;that discussion, however, the supreme court simply concluded that &lt;/div&gt;
&lt;div&gt;the district courtâs reasoning&lt;span&gt; for imposing a longer sentence on &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;remand did not show actual vindictiveness:  &lt;/div&gt;
&lt;div&gt;The [district] &lt;span&gt;courtâs statements explaining &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;why it did not initially consider the facts &lt;/div&gt;
&lt;div&gt;pertaining to the sexual assault when &lt;/div&gt;
&lt;div&gt;sentencing Johnson on the possession of a &lt;/div&gt;
&lt;div&gt;controlled substance conviction, and &lt;span&gt;why &lt;/span&gt;&lt;span&gt;it felt &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;it necessary&lt;span&gt; to consider those facts after the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;court of appeals vacated the kidnapping and &lt;/div&gt;
&lt;div&gt;sexual assault convictions evidence a non-&lt;/div&gt;
&lt;div&gt;vindictive reason to modify Johnsonâs sentence &lt;/div&gt;
&lt;div&gt;and increase the possession of a controlled &lt;/div&gt;
&lt;div&gt;substance sentence from six years to twelve &lt;/div&gt;
&lt;div&gt;years. &lt;/div&gt;
&lt;div&gt;  &lt;/div&gt;
&lt;div&gt;Id.&lt;span&gt; (emphasis added).&lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;2&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;  &lt;span&gt;The supreme court did not hold that &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;resentencing is required every time a conviction &lt;span&gt;is&lt;/span&gt; vacated in a &lt;/div&gt;
&lt;div&gt;multi-count case.&lt;span&gt;  &lt;/span&gt;&lt;span&gt;Indeed, adopting the prosecutionâs position &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;2&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; In addition, recall that resentencing was necessary in &lt;span&gt;Johnson&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;because the first division of this court had vacated the original &lt;/div&gt;
&lt;div&gt;judgment entirely. &lt;/div&gt;
&lt;/div&gt;
&lt;a href="#pf12" data-dest-detail='[18,"XYZ",69,121,null]'&gt;&lt;div style="border-style:none;position:absolute;left:275.872222px;bottom:268.972222px;width:10.080000px;height:32.880000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;
&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf13" data-page-no="13"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;17 &lt;/div&gt;
&lt;div&gt;would clash with a dominant theme of the &lt;span&gt;Johnson&lt;/span&gt; decision &lt;span&gt;â&lt;/span&gt; the &lt;/div&gt;
&lt;div&gt;district court has wide discretion in sentencing matters.&lt;span&gt;  &lt;/span&gt;&lt;span&gt;See&lt;/span&gt; 2015 &lt;/div&gt;
&lt;div&gt;CO 70, Â¶Â¶ 16, 21-22, 26, 37. &lt;/div&gt;
&lt;div&gt;Â¶ 31&lt;span&gt; &lt;/span&gt;&lt;span&gt;Given all this, we conclude that nothing in &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Hernandez-Escajeda I&lt;span&gt; precluded the district court from &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;resentencing Hernandez-Escajeda on his first degree burglary &lt;/div&gt;
&lt;div&gt;conviction and associated crime of violence conviction.  On reman&lt;span&gt;&lt;/span&gt;d &lt;/div&gt;
&lt;div&gt;from this appeal, the district court has the discretion to resentence &lt;/div&gt;
&lt;div&gt;Hernandez-Escajeda if it so chooses.&lt;span&gt;  &lt;/span&gt;The court also has the &lt;/div&gt;
&lt;div&gt;discretion to decide whether to hold a resentencing hearing. &lt;/div&gt;
&lt;div&gt;III.&lt;span&gt; &lt;span&gt;Conclusion &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 32&lt;span&gt; &lt;/span&gt;&lt;span&gt;The order is reversed, and the case is remanded for further &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;proceedings consistent with this opinion. &lt;/div&gt;
&lt;div&gt;JUDGE DUNN and JUDGE GOMEZ concur. &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;
